Case 3:22-cv-04905-RK-JBD Document 92-1 Filed 09/12/23 Page 1 of 2 PageID: 1132




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 Attorneys for proposed intervenor,
 Denali Water Solutions LLC

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
  SYMBIONT SCIENCE,                        Honorable Robert Kirsch, U.S.D.J.
  ENGINEERING AND
  CONSTRUCTION, INC., ZURICH               Honorable J. Brendan Day, U.S.M.J.
  AMERICAN INSURANCE
  COMPANY a/s/o Symbiont Science,          C.A. No.: 3:22-cv-04905-RK-JBD
  Engineering and Construction, Inc.;
  AMERICAN GUARANTEE AND                   PROPOSED ORDER
  LIABILITY INSURANCE
  COMPANY, a/s/o Symbiont Science,
  Engineering and Construction, Inc. and
  STEADFAST INSURANCE
  COMPANY a/s/o Symbiont Science
  and Construction, Inc.

  Plaintiffs

  vs.

  GROUND IMPROVEMENT
  SERVICES, INC.; JOHN DOES 1-10,
  (fictitious parties) and ABC
  COMPANIES 1-10 (fictitious parties);
  GEOSTRUCTURES OF VIRGINIA,
  INC.
Case 3:22-cv-04905-RK-JBD Document 92-1 Filed 09/12/23 Page 2 of 2 PageID: 1133




  Defendants.


       THIS MATTER, having been brought before the Court upon the

 application of proposed intervenor Denali Water Solutions LLC, through its

 counsel, Fox Rothschild LLP, for the issuance of an Order granting Denali’s

 motion to intervene in the above-captioned matter; and the Court, having

 considered the papers submitted in support hereof and any opposition thereto; for

 the reasons set forth on the record; and for other good cause shown;

       IT IS on this _______ day of __________, 2023, ORDERED as follows:

       Denali’s motion to intervene is GRANTED;

       IT IS FURTHER ORDERED that Denali’s counsel, Dominique J. Carroll,

 Esq., Steven J. Link, Esq., and Jeffrey M. Pollock, Esq. shall be permitted to enter

 appearances on behalf of the proposed intervenor, and upon doing so, shall be

 added to the Court’s CM/ECF and parties’ service lists.



                                       _________________________________
                                            Hon. Robert Kirsch, U.S.D.J.



 ____Opposed

 ____Unopposed
